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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

DONALD FALLS, et al.,

             Plaintiffs,
v.                                            Case No. 4:22cv166-MW/MJF

RON DESANTIS, in his official
capacity as Governor of Florida,
et al.,

          Defendants.
_________________________/

         ORDER FOR EXPEDITED SUPPLEMENTAL BRIEFING

      Plaintiffs’ notice of supplemental authority, ECF No. 59, indicates that

Defendant Florida Board of Governors is set to vote this week on the proposed

regulation filed at ECF No. 59-1. Accordingly, Defendant Florida Board of

Governors shall file on or before 5:00 PM (ET) on Friday, July 1, 2022, a notice

setting out what actions, if any, the Florida Board of Governors takes on the proposed

regulation (“10.05 Prohibition of Discrimination in University Training or

Instruction”), any other proposed regulation implementing the challenged provisions

amending section 1000.05, Florida Statutes, and any proposed regulation
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implementing the recent amendments to section 1001.706, Florida Statutes, at the

meeting of the Florida Board of Governors this week.

      SO ORDERED on June 29, 2022.

                                           s/Mark E. Walker             ____
                                           Chief United States District Judge




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